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                         Exhibit 6
(Michigan Securities Bureau/Woodbridge Notice and Order
         To Cease and Desist dtd August 8, 2017)




(Michigan Securities Bureau/Woodbridge Notice and Order
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                         Exhibit 6
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                         STATE OF MICHIGAN
          DEPARTMENT OF LICENSING AND REGULATORY AFFAIRS
       CORPORATIONS, SECURITIES & COMMERCIAL LICENSING BUREAU

In the Matter of:                                  Complaint No. 332976

WOODBRIDGE MORTGAGE INVESTMENT FUND 2, LLC
Unregistered

                       Respondent.
- - - - - - - - - - - - - - - - - - - - - -I

                                    Issued and entered
                             This 8th day     of August, 2017

                    NOTICE AND ORDER TO CEASE AND DESIST

        Julia Dale, the Director ("Administrator") of the Corporations, Securities &

Commercial Licensing Bureau ("the Bureau"), pursuant to her statutory authority and

responsibility to administer and enforce the Michigan Uniform Securities Act (2002),

2008 PA 551, as amended, MCL 451.2101 et seq ("Securities Act"), hereby orders

Woodbridge Mortgage Investment Fund 2, LLC ("Respondent") to cease and desist from

offering or selling unregistered securities, and to cease and desist from omitting to state

material facts necessary to make other statements made, in light of the circumstances

under which they were made, not misleading, contrary to the Securities Act. Respondent

is also notified of the opportunity to request a hearing in this matter.

                                     I. BACKGROUND

A.      The Respondent

  1.    Woodbridge Mortgage Investment Fund 2, LLC is a Delaware-organized limited
        liability company that was formed in or around 2013. Respondent has not filed a
        certificate of authority to do business in Michigan, holds no registrations pursuant
        to the Securities Act in Michigan, and has not registered any securities products
        pursuant to the Securities Act in Michigan.
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B.       Findings of Fact

  1.     The Bureau received information that Respondent may be offering and selling
         securities in the State of Michigan, and initiated an investigation to review
         Respondent's activities under the Securities Act.

  2.     The investigation developed evidence that Respondent offered and sold "First
         Position Commercial Mortgages" (hereafter "notes") in Michigan that fell within
         the definition of "security"; approximately 230 investors invested more than
         $14,000,000.00 with Respondent and its affiliated companies. The notes were not
         federally covered, exempt from registration, or registered. (Exhibit 1 - Sample
         Note).

  3.     The investigation developed evidence that Respondent described the securities it
         issued as being "safer" than other securities and as having "higher yields and
         lower risk" than other investments; however, Respondent failed to provide
         relevant financial information to demonstrate its ability to pay returns promised
         by its advertisements. (Exhibit 2 - Respondent Website Printouts).

  4.     Respondent identified its securities as being "safer" than other securities and as
         having "higher yields and lower risk" than other investments; however,
         Respondent failed to inform investors of various cease and desist orders to which
         it or its affiliate was subject from the Commonwealth of Massachusetts (Exhibit 3
         - Massachusetts Consent Order), State of Texas (Exhibit 4 - Texas Order), and
         State of Arizona (Exhibit 5 -Arizona Cease and Desist Order).

                          II.       RELEVANT STATUTORY PROVISIONS

  1.     Section 102c(c) of the Securities Act, MCL 451.2102c(c) defines "Security", in
         part, as:

             a note[1]; stock; treasury stock; security future; bond; debenture; evidence of
             indebtedness; certificate of interest or participation in a profit-sharing
             agreement; collateral trust certificate; preorganization certificate or

1 A promissory note is presumed to be a security under the "Family Resemblance Test" adopted by the

Supreme Court in Reves v Ernst & Young, 494 US 56, 64-67 (1990) (Attachment 6 - Reves v Ernst &
Young). The presumption may be rebutted by analyzing four factors to determine if the notes have non-
security characteristics. Those factors as applied here support the fact that the notes are securities: (1) The
notes were sold to multiple purchasers across the country with the intent that they act as a safe and high-
yield investment for the note purchasers; (2) the plan of distribution of the instrument was broadly spread
across not just Michigan, but across the country; (3) the investors would reasonably expect the notes to be
securities, as the notes were described as investments that would produce high yields with little risk; (4) no
other regulatory scheme exists to provide a safeguard for investors in these notes, though they are
purportedly secured. Id. Weighing all the factors, the notes fall within the definition of "security" under
the Securities Act.

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              subscription; transferable share; investment contract; voting trust certificate;
              certificate of deposit for a security; fractional undivided interest in oil, gas, or
              other mineral rights; put, call, straddle, option, or privilege on a security,
              certificate of deposit, or group or index of securities, including an interest in
              or based on the value of that put, call, straddle, option, or privilege on that
              security, certificate of deposit, or group or index of securities, put, call,
              straddle, option, or privilege entered into on a national securities exchange
              relating to foreign currency, an investment in a viatical or life settlement
              agreement; or, in general, an interest or instrument commonly known as a
              "security"; or a certificate of interest or participation in, temporary or interim
              certificate for, receipt for, guarantee of, or warrant or right to subscribe to or
              purchase, any of the foregoing ...

     2.    Section 301 of the Securities Act, MCL 451.2301, states:

              A person shall not offer or sell a security in this state unless 1 or more of the
              following are met:

                  (a) The security is a federal covered security.
                  (b) The security, transaction, or offer is exempted from registration under
                  section 201 to 203.
                  (c) The security is registered under this act.

      3.   Section 501 of the Securities Act, MCL 451.2501, states:

              It is unlawful for a person, in connection with the offer, sale, or purchase of a
              security or the organization or operation of a Michigan investment market
              under article 4A, to directly or indirectly do any of the following: ...

                  (b) Make an untrue statement of a material[2] fact or omit to state a
                  material fact necessary in order to make the statements made, in the light
                  of the circumstances under which they were made, not misleading ...

     4.    Section 503(1) of the Securities Act, MCL 451.2503(1), states:

              In a civil action or administrative proceeding under this act, a person claiming
              an exemption, exception, preemption, or exclusion has the burden to prove the
              applicability of the exemption, exception, preemption, or exclusions.




[2A "material" fact is one that a reasonable investor might consider important to his or her investment
decision. People v Cook, 89 Mich App 72 (1979).]

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                                 III.    CONCLUSIONS OF LAW

  1.      Respondent Woodbridge Mortgage Investment Fund 2, LLC offered and sold note
          securities labeled as "First Position Commercial Mortgages" in Michigan which
          were not federally covered, exempt from registration, or registered, in violation of
          section 301 of the Securities Act, MCL 451.2301.

 2.       Respondent Woodbridge Mortgage Investment Fund 2, LLC omitted material
          information in connection with the offer and sale of securities when it advertised
          the notes as being "safer" and offering "higher yields and lower risks" than other
          investments, but failed to disclose relevant financial information to demonstrate to
          investors that the issuer had the ability to pay the promised return. A reasonable
          investor may have considered the issuer's financial information important to his
          or her investment decision, meaning that the omission was material. The material
          information was necessary to make the statements made regarding the safety and
          higher yield nature of the investments not misleading, but was omitted, contrary
          to section 501 of the Securities Act, MCL 451.2501.

 3.       Respondent Woodbridge Mortgage Investment Fund 2, LLC omitted material
          information in connection with the offer and sale of securities when it advertised
          the various positive aspects of the investments, such as the statements regarding
          their safety and high yields, but failed to disclose to investors that Respondent had
          been ordered by multiple jurisdictions to cease and desist from offering the notes
          for sale. A reasonable investor may have considered the cease and desist orders
          issued by Massachusetts, Texas, and Arizona important to his or her investment
          decision, meaning that the omission was material. The material information was
          necessary to make the positive statements about the investments not misleading,
          but was omitted, contrary to section 501 of the Securities Act, MCL 451.2501.

                                        IV.    ORDER

IT IS THEREFORE ORDERED, pursuant to section 604 of the Securities Act, MCL
451.2604, that:

       A. Respondent shall immediately CEASE AND DESIST from offering or selling
          unregistered securities and from omitting material information in connection with
          the offer and sale of securities, contrary to the Securities Act.

       B. Pursuant to section 604(2) of the Securities Act, this Notice and Order to Cease
          and Desist is IMMEDIATELY EFFECTIVE.

       C. In her Final Order, the Administrator, under section 604(4) of the Securities Act,
          MCL 451.2604(4), intends to impose a civil fine of $500,000.00 against
          Respondent.

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   D. Pursuant to section 508 of the Securities Act, MCL 451.2508, a person that
      willfully violates the Securities Act, or an order issued under the Securities Act, is
      guilty of a felony punishable by imprisonment for not more than 10 years or a fine
      of not more than $500,000.00 for each violation, or both. An individual convicted
      of violating a rule or order under this act may be fined, but shall not be
      imprisoned, if the individual did not have knowledge of the rule or order.

               V.     NOTICE OF OPPORTUNITY FOR HEARING

Section 604 of the Securities Act, MCL 451.2604, provides that Respondent has 30 days
beginning with the first day after the date of service of this Notice and Order to Cease
and Desist to submit a written request to the Administrator asking that this matter be
scheduled for a hearing. If the Administrator receives a written request in a timely
manner, the Administrator shall schedule a hearing within 15 days after receipt of the
request. The written request for a hearing must be addressed to:

                         Corporations, Securities & Commercial Licensing Bureau
                         Regulatory Compliance Division
                         P.O. Box 30018
                         Lansing, MI 48909

              VI.     ORDER FINAL ABSENT HEARING REQUEST

A. Under section 604 of the Securities Act, MCL 451.2604, the Respondent's failure to
   submit a written request for a hearing to the Administrator within 30 days after the
   service date of this NOTICE AND ORDER TO CEASE AND DESIST shall result
   in this order becoming a FINAL ORDER by operation of law. The FINAL
   ORDER includes the imposition of the fines cited described in section IV.C., and the
   fine amounts set forth below will become due and payable to the Administrator
   within sixty (60) days after the date this order becomes final:

                        $500,000.00 Woodbridge Mortgage Investment Fund
                        2, LLC, under section 604 of the Securities Act, MCL
                        451.2604.

B. CIVIL FINE payments should be payable to the STATE OF MICHIGAN and contain
   identifying information (e.g., names and complaint numbers) and mailed to the
   following address:
                        Corporations, Securities & Commercial Licensing Bureau
                        Final Order Monitoring
                        P.O. Box 30018
                        Lansing, MI 48909



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C. Failure to comply with the terms of this Order within the time frames specified may
   result in additional administrative penalties, including the summary suspension or
   continued suspension of all registrations held by Respondent under the Securities Act,
   the denial of any registration renewal, and/or the denial of any future applications for
   registration, until full compliance is made. Respondent may voluntarily surrender or
   withdraw a registration under the Securities Act; however, the surrender or
   withdrawal will not negate the summary suspension or continued suspension of the
   relevant registrations or any additional administrative proceedings if a violation of
   this Order or the Securities Act occurred.

D. Failure to pay the civil fines within six (6) months after this Order becomes final may
   result in the referral of the civil fines to the Michigan Department of Treasury for
   collection action against Respondents.

      CORPORATIONS, SECURITIES & COMMERCIAL LICENSING BUREAU



                     irector, Corporations, Securities
                  rcial Licensing Bureau




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